
Ksenia Pavlova, D.O., as Assignee of Murray, Eldica, Appellant, 
againstHartford Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Mackey Butts &amp; Wise, LLP (Joshua E. Mackey of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (John J. Kelley, J.), entered November 1, 2016. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath and denied plaintiff's cross motion for summary judgment.
For the reasons stated in Pavlova, as Assignee of George Brathwaite v Hartford Ins. Co. (__ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-600 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 03, 2019










